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                                                                                       APPEAL,TERMED
                             U.S. District Court
                       District of Colorado (Denver)
       CRIMINAL DOCKET FOR CASE #: 1:16−cr−00284−CMA All Defendants

  Case title: USA v. Iley                                       Date Filed: 08/24/2016
                                                                Date Terminated: 08/03/2017

  Assigned to: Judge Christine M.
  Arguello

  Defendant (1)
  Donald Iley                            represented by Gary Lozow
  TERMINATED: 08/03/2017                                Foster Graham Milstein & Calisher, LLP
                                                        360 South Garfield Street
                                                        6th Floor
                                                        Denver, CO 80209
                                                        303−333−9810
                                                        Fax: 303−333−9786
                                                        Email: glozow@fostergraham.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED
                                                        Designation: Retained

  Pending Counts                                       Disposition
                                                       Defendant committed to the custody of the Federal
                                                       Bureau of Prisons to be imprisoned for a total term
                                                       of ONE−HUNDRED AND FIFTY−ONE (151)
  18 U.S.C. § 1343 Wire Fraud                          MONTHS, to run concurrent to Count 28.
  (12)                                                 Supervised Release of THREE (3) YEARS, to run
                                                       concurrent to Count 28. Special Assessment of
                                                       $100.00. Total Restitution of $9,718,327.68
                                                       Defendant committed to the custody of the Federal
                                                       Bureau of Prisons to be imprisoned for a total term
  26 U.S.C. § 7602(2) Aiding in the                    of THIRTY−SIX (36) MONTHS, to run concurrent
  Preparation of a False Tax Return                    to Count 12. Supervised Release of ONE YEAR , to
  (28)                                                 run concurrent to Count 12. Special Assessment of
                                                       $100.00. Total Restitution of $9,718,327.68

  Highest Offense Level
  (Opening)
  Felony

  Terminated Counts                                    Disposition
  18 U.S.C. § 1343 Wire Fraud                          Dismissed on Motion of the Government
  (1−11)
  18 U.S.C. § 1341 Mail Fraud                          Dismissed on Motion of the Government
  (13−14)
  26 U.S.C. § 7602(2) Aiding in the
  Preparation of a False Tax Return                    Dismissed on Motion of the Government
  (15−27)
  26 U.S.C. § 7602(2) Aiding in the
  Preparation of a False Tax Return                    Dismissed on Motion of the Government
  (29−32)

  Highest Offense Level
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  (Terminated)
  Felony

  Complaints                                          Disposition
  None


  Plaintiff
  USA                                           represented by J. Chris Larson
                                                               U.S. Attorney's Office−Denver
                                                               1801 California Street
                                                               Suite 1600
                                                               Denver, CO 80202
                                                               303−454−0252
                                                               Fax: 303−454−0408
                                                               Email: j.chris.larson@usdoj.gov
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Designation: Federal Agency Attorney

                                                                Tonya Shotwell Andrews
                                                                U.S. Attorney's Office−Denver
                                                                1801 California Street
                                                                Suite 1600
                                                                Denver, CO 80202
                                                                303−454−0100
                                                                Fax: 303−454−0402
                                                                Email: Tonya.Andrews@usdoj.gov
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Federal Agency Attorney

   Date Filed    #   Docket Text
   08/24/2016    1 INDICTMENT as to Donald Iley (1) count(s) 1−12, 13−14, 15−32. (Attachments: # 1
                   Penalty Sheet) (athom, ) (Entered: 08/24/2016)
   08/24/2016    2 RESTRICTED DOCUMENT − Level 4 as to Donald Iley. (athom, ) (Entered:
                   08/24/2016)
   08/24/2016    3 Summons Issued as to Donald Iley. Initial Appearance set for 9/7/2016 02:00 PM in
                   Courtroom C201 before Magistrate Judge Kathleen M. Tafoya. (athom, ) (Entered:
                   08/24/2016)
   09/07/2016    4 MINUTE ENTRY/ORDER for proceedings held before Magistrate Judge Kathleen M.
                   Tafoya: Initial Appearance as to Donald Iley held on 9/7/2016. Defendant present on
                   summons. Defendant advised. Bond set as to Donald Iley (1) Personal Recognizance.
                   Defendant to forthwith surrender Passport to the Clerk's Office. Arraignment /
                   Discovery Hearing set for 9/14/2016 10:00 AM in Courtroom C201 before Magistrate
                   Judge Kathleen M. Tafoya. (Total time: 14 minutes, Hearing time: 2:04 − 2:18)

                     APPEARANCES: Chris Larson on behalf of the Government, Gary Lozow on behalf
                     of Defendant, Michele Sinaka on behalf of pretrial. Court Reporter: FTR − E. E.
                     Miller. FTR: Courtroom C201. (emill) Text Only Entry (Entered: 09/07/2016)
   09/07/2016    5 Personal Recognizance Bond Entered as to Donald Iley (emill) (Entered: 09/07/2016)
   09/07/2016    6 ORDER Setting Conditions of Release as to Donald Iley (1) Personal Recognizance
                   Bond by Magistrate Judge Kathleen M. Tafoya on 9/7/2016. (emill) (Entered:
                   09/07/2016)
   09/12/2016    7 Passport Receipt as to Donald Iley. Surrender of passport re Bond Conditions; Passport
                   Number 307697522 issued by USA. (athom, ) (Entered: 09/12/2016)
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   09/14/2016    8 COURTROOM MINUTES for Arraignment and Discovery Hearing as to Donald Iley
                   held on 9/14/2016 before Magistrate Judge Kathleen M. Tafoya. Defendant present on
                   bond. Plea of NOT GUILTY entered by defendant. Discovery memorandum executed.
                   Mr. Larson states there is a typo on the penalty sheet with respect to a statutory
                   reference. Defendant's bond continued. Counsel is directed to chambers. (Total time: 5
                   mins, Hearing time: 1006−1011)

                    APPEARANCES: Chris Larson on behalf of the Government, Gary Lozow on behalf
                    of the defendant, Angela Ledesma on behalf of pretrial. FTR: KMT C201. (sgrim)
                    Text Only Entry (Entered: 09/14/2016)
   09/14/2016    9 Discovery Conference Memorandum and ORDER: Estimated Trial Time − 10 days as
                   to Donald Iley by Magistrate Judge Kathleen M. Tafoya on 9/14/16. (sgrim) (Entered:
                   09/14/2016)
   09/14/2016   10 ORDER as to Donald Iley. Pretrial motions due by September 28, 2016. Responses
                   due by October 12, 2016. If counsel believe an evidentiary hearing on motions is
                   necessary, they shall confer and e−mail Chambers at
                   arguello_chambers@cod.uscourts.gov no later than October 14, 2016 to set such a
                   hearing. Final Trial Preparation Conference OR Change of Plea Hearing set for
                   October 25, 2016, at 2:00 PM in Courtroom A602 before Judge Christine M. Arguello.
                   Ten−day Jury Trial set for November 7, 2016, at 8:00 AM, with Jury Selection
                   scheduled for October 31, 2016, at 1:30 PM, in Courtroom A602, before Judge
                   Christine M. Arguello. FURTHER ORDERED, the Court will not consider any motion
                   related to the disclosure or production of discovery that is addressed by the Discovery
                   Order and/or Fed.R.Crim.P.16, unless Counsel for the moving party, prior to filing the
                   motion, has conferred or made reasonable, good−faith efforts to confer with opposing
                   counsel in an effort to attempt to resolve the disputed matter, e.g., questions or
                   disputes relating to the scope and/or timing of disclosure of such discovery. If the
                   parties are able to resolve the dispute, the Motion shall be entitled Unopposed Motion
                   for _______, and the parties shall submit the proposed order the parties wish the Court
                   to enter. If the parties are unable to resolve the dispute, the moving party shall state in
                   the Motion the specific efforts that were taken to comply with this Order to Confer.
                   FURTHER ORDERED, parties are expected to comply with this Court's Criminal
                   Practice Standards (see www.cod.uscourts.gov, under tab Court Operations/Rules &
                   Procedures/Judicial Practice Standards). SO ORDERED BY Judge Christine M.
                   Arguello on 9/14/2016. Text Only Entry (vbarn) (Entered: 09/14/2016)
   09/27/2016   11 Unopposed MOTION to Continue Motion For Ends of Justice Continuance of Trial by
                   Donald Iley. (Lozow, Gary) (Entered: 09/27/2016)
   09/28/2016   12 ORDER granting 11 Motion to Continue and 180 day ends of justice continuance as to
                   Donald Iley. Motions due by 3/6/2017. Responses due by 3/20/2017. The Final Trial
                   Preparation Conference/Change of Plea Hearing set for 10/25/2016, is VACATED and
                   RESET to 4/18/2017, at 03:00 PM in Courtroom A 602 before Judge Christine M.
                   Arguello. The ten−day Jury Trial set to begin on 10/31/2016, is VACATED and
                   RESET to 5/8/2017, at 08:00 AM, with jury selection scheduled for 5/1/2017, in
                   Courtroom A 602 before Judge Christine M. Arguello. By Judge Christine M.
                   Arguello on 09/28/2016. (athom, ) (Entered: 09/28/2016)
   02/01/2017   13 NOTICE of Change of Address/Contact Information (Larson, J.) (Entered:
                   02/01/2017)
   03/20/2017   14 NOTICE of Disposition by Donald Iley (Lozow, Gary) (Entered: 03/20/2017)
   03/21/2017   15 ORDER as to Donald Iley re: Notice of Disposition 14 . The Court AFFIRMS the
                   Change of Plea Hearing set for Defendant on 4/18/2017 at 3:00 PM in Courtroom
                   A602 before Judge Christine M. Arguello. This Change of Plea Hearing is set in lieu
                   of the Final Trial Preparation Conference, which, along with the trial date, will remain
                   as scheduled, and will not be vacated until Defendant's plea is entered and accepted by
                   the Court. Counsel for the parties shall deliver a courtesy copy of the Plea Agreement
                   to Judge Arguello's chambers, via email or fax, no less than 72 hours before the
                   Change of Plea Hearing. If a courtesy copy is not timely submitted, the hearing may be
                   vacated. The original and one copy of the Statement by Defendant in Advance of
                   Change of Plea and Plea Agreement should be delivered to the courtroom deputy in
                   the courtroom at the time of the hearing (D.C.COLO.LCrR 11.1(e)(1)). FURTHER
                   ORDERED that defense counsel who has reviewed and advised Defendant regarding
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                    the facts, discovery and plea agreement must attend this Change of Plea Hearing. SO
                    ORDERED BY Judge Christine M. Arguello on 3/21/2017. Text Only Entry (cmasec)
                    (Entered: 03/21/2017)
   04/03/2017   16 MOTION for Extension of Time to File Jury Instructions, Exhibit List, and Witness
                   List by USA as to Donald Iley. (Larson, J.) (Entered: 04/03/2017)
   04/03/2017   17 ERRATA to 16 MOTION for Extension of Time to File Jury Instructions, Exhibit List,
                   and Witness List by USA as to Donald Iley (Attachments: # 1 Corrected Motion to
                   Extend Filing Deadlines)(Larson, J.) (Entered: 04/03/2017)
   04/03/2017   18 ORDER granting 16 Motion for Extension of Time. Proposed Jury Instructions due
                   4/21/2017; Exhibit and Witness Lists due 4/28/2017. SO ORDERED by Judge
                   Christine M. Arguello on 4/3/2017. Text Only Entry (cmasec) (Entered: 04/03/2017)
   04/18/2017   20 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello: Change
                   of Plea Hearing as to Donald Iley held on 4/18/2017. Plea entered by Defendant,
                   Guilty as to Counts 12 and 28 of the Indictment. Sentencing set for 7/13/2017 03:00
                   PM in Courtroom A 602 before Judge Christine M. Arguello. All other dates are
                   vacated and any pending motions are denied as moot. The US Probation Office shall
                   prepare a Presentence Report. Counsel shall file their sentencing positions and all
                   motions at least 14 days before the sentencing date; responses or objections shall be
                   filed no later than seven days before the sentencing date. Failure to timely file these
                   pleadings may result in a continuance of the sentencing date. Defendant present on
                   bond, Defendant's bond continued, (Total time: 31 Minutes, Hearing time: 2:59 p.m.
                   −− 3:30 p.m.)

                    APPEARANCES: J. Chris Larson on behalf of the Government; Gary Lozow on
                    behalf of the Defendant. ALSO PRESENT: George Warnock, IRS Special Agent.
                    Court Reporter: Darlene Martinez. (swest) Text Only Entry (Entered: 04/18/2017)
   04/18/2017   21 PLEA AGREEMENT as to Donald Iley. (swest) (Entered: 04/18/2017)
   04/18/2017   22 STATEMENT IN ADVANCE OF PLEA OF GUILTY by Defendant Donald Iley.
                   (swest) (Entered: 04/18/2017)
   06/09/2017   23 RESTRICTED PRESENTENCE REPORT first disclosure for attorney review as to
                   Donald Iley (Attachments: # 1 Exhibit B, # 2 Exhibit C, # 3 Exhibit D, # 4 Exhibit
                   E)(doden, ) (Entered: 06/09/2017)
   06/19/2017   24 Unopposed MOTION for Extension of Time to File Response/Reply to Presentence
                   Report by Donald Iley. (Lozow, Gary) (Entered: 06/19/2017)
   06/20/2017   25 ORDER granting 24 Unopposed Motion for Extension of Time to Respond. Defendant
                   shall have up to and including 7/3/2017 within which to respond to the Presentence
                   Report. SO ORDERED by Judge Christine M. Arguello on 6/20/2017. Text Only
                   Entry (cmasec) (Entered: 06/20/2017)
   06/20/2017   26 Unopposed MOTION for Extension of Time to File Response/Reply as to 23
                   Restricted Presentence Report − Attorney Disclosure by USA as to Donald Iley.
                   (Larson, J.) (Entered: 06/20/2017)
   06/21/2017   27 ORDER granting 26 Unopposed Motion for Extension of Time to File Response. The
                   Government shall have up to and including 7/3/2017 within which to respond to the
                   Presentence Report. SO ORDERED by Judge Christine M. Arguello on 6/21/2017.
                   Text Only Entry (cmasec) (Entered: 06/21/2017)
   06/29/2017   28 NOTICE OF ATTORNEY APPEARANCE Tonya Shotwell Andrews appearing for
                   USA. Attorney Tonya Shotwell Andrews added to party USA(pty:pla) (Andrews,
                   Tonya) (Entered: 06/29/2017)
   06/29/2017   29 MOTION for Forfeiture of Property FOR PRELIMINARY ORDER OF FORFEITURE
                   FOR A PERSONAL MONEY JUDGMENT by USA as to Donald Iley. (Attachments: #
                   1 Proposed Order (PDF Only))(Andrews, Tonya) (Entered: 06/29/2017)
   06/29/2017   30 MOTION to Dismiss Counts by USA as to Donald Iley. (Larson, J.) (Entered:
                   06/29/2017)
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   06/29/2017   31 MOTION for Order for Reduction for Acceptance of Responsibility by USA as to
                   Donald Iley. (Larson, J.) (Entered: 06/29/2017)
   06/29/2017   32 SENTENCING STATEMENT by USA as to Donald Iley (Attachments: # 1
                   Attachment A)(Larson, J.) (Entered: 06/29/2017)
   06/29/2017   33 AMENDED DOCUMENT by USA as to Donald Iley Amendment to 32 Sentencing
                   Statement filed by USA Attachment A, Govt's Sentencing Statement (Attachments: # 1
                   Exhibit Attachment A, 2010 Order)(Larson, J.) (Entered: 06/29/2017)
   06/30/2017   34 RESTRICTED DOCUMENT − Level 1: by Donald Iley. (Lozow, Gary) (Entered:
                   06/30/2017)
   06/30/2017   35 RESTRICTED DOCUMENT − Level 1: by Donald Iley. (Attachments: # 1 Exhibit
                   Letters in Support)(Lozow, Gary) (Entered: 06/30/2017)
   07/03/2017   36 RESPONSE by USA as to Donald Iley re: 23 Restricted Presentence Report −
                   Attorney Disclosure, 27 Order on Motion for Extension of Time to File
                   Response/Reply, (Larson, J.) (Entered: 07/03/2017)
   07/07/2017   37 RESTRICTED PRESENTENCE REPORT as to Donald Iley (Attachments: # 1
                   Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(ntaka) (Entered: 07/07/2017)
   07/07/2017   38 RESTRICTED ADDENDUM to Presentence Report 37 as to Donald Iley
                   (Attachments: # 1 Exhibit A)(ntaka) (Entered: 07/07/2017)
   07/09/2017   39 RESPONSE by USA as to Donald Iley re: 34 Restricted Document − Level 1 filed by
                   Donald Iley (Regarding Application of Section 2B1.1(b)(9)(C)) (Larson, J.) (Entered:
                   07/09/2017)
   07/10/2017   40 PRELIMINARY ORDER OF FORFEITURE FOR A PERSONAL MONEY
                   JUDGMENTAGAINST DEFENDANT DONALD ILEY as to Donald Iley. By Judge
                   Christine M. Arguello on 07/10/2017. (athom, ) (Entered: 07/10/2017)
   07/11/2017   41 ORDER as to Donald Iley: Sentencing set for 7/13/2017 is RESET IN TIME ONLY to
                   02:00 PM in Courtroom A 602 before Judge Christine M. Arguello. SO ORDERED by
                   Judge Christine M. Arguello on 7/11/2017. Text Only Entry (cmasec) (Entered:
                   07/11/2017)
   07/11/2017   42 RESTRICTED SECOND ADDENDUM to Presentence Report 37 as to Donald Iley
                   (Attachments: # 1 Exhibit A)(doden, ) (Entered: 07/11/2017)
   07/11/2017   43 RESPONSE by USA as to Donald Iley re: 37 Restricted Presentence Report − Final
                   Response Regarding Estimate of Restitution (Larson, J.) (Entered: 07/11/2017)
   07/12/2017   44 RESTRICTED THIRD ADDENDUM to Presentence Report 37 as to Donald Iley
                   (aarag, ) (Entered: 07/12/2017)
   07/13/2017   45 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello:
                   Sentencing held on 7/13/2017 as to Defendant Donald Iley. Statements by Harry
                   Neumann, Paul Donovan, John King, Richard W.C. Jr., Ted Merriam, Jay Moskowitz,
                   Curtis Snowden, Susan Hinnen, Steven Adelman, Dan Dorenkamb, Anna Sais, Alex
                   Liesegang, Joe Van Dyke, and Gail Roberts. ORDERED: Granting 31 Governments
                   Motion for Order for Reduction for Acceptance of Responsibility FURTHER
                   ORDERED: Sentencing Hearing continued to 07/25/2017 at 3:00 p.m. in Courtroom A
                   602 before Judge Christine M. Arguello. Defendant present on bond; Defendant
                   remanded. (Total time: 1:10, Hearing time: 2:03 p.m. − 3:22 p.m.)

                    APPEARANCES: J. Chris Larson on behalf of the Government; Gary Lozow on
                    behalf of the Defendant; MariJo Paul on behalf of Probation. Court Reporter: Darlene
                    Martinez. (swest) Text Only Entry. Modified on 7/14/2017 to correct Sentencing
                    Hearing date. (swest) (Entered: 07/13/2017)
   07/14/2017   46 Partial TRANSCRIPT of Sentencing Hearing − Proposed Findings as to Donald Iley
                   held on 7/13/17 before Judge Arguello. Pages: 1−27. <br><br> NOTICE −
                   REDACTION OF TRANSCRIPTS: Within seven calendar days of this filing,
                   each party shall inform the Court, by filing a Notice of Intent to Redact, of the
                   party's intent to redact personal identifiers from the electronic transcript of the
                   court proceeding. If a Notice of Intent to Redact is not filed within the allotted
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                    time, this transcript will be made electronically available after 90 days. Please see
                    the Notice of Electronic Availability of Transcripts document at
                    www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the court public
                    terminal or purchased through the Court Reporter/Transcriber prior to the 90 day
                    deadline for electronic posting on PACER. (dmart, ) (Entered: 07/14/2017)
   07/21/2017   47 ORDER: This matter is before the Court sua sponte. It is ORDERED that the Clerk of
                   the Court is directed to unrestrict Docs. ## 34 and 35 for failure to comply with the
                   requirements of D.C.COLO.LCrR 47.1, despite repeated requests from the court. SO
                   ORDERED by Judge Christine M. Arguello on 7/21/2017. Text Only Entry (cmasec)
                   (Entered: 07/21/2017)
   07/21/2017   48 MOTION for Leave to Restrict by Donald Iley. (Lozow, Gary) (Entered: 07/21/2017)
   07/24/2017   49 RESTRICTED FOURTH ADDENDUM to Presentence Report 37 as to Donald Iley
                   (doden, ) (Entered: 07/24/2017)
   07/24/2017   50 MOTION for Leave to Restrict by Donald Iley. (Lozow, Gary) (Entered: 07/24/2017)
   07/24/2017   51 RESTRICTED DOCUMENT − Level 2: as to Donald Iley. (Attachments: # 1 Exhibit
                   A to Defendant's Second Supplemental Submission to Sentencing Memorandum, # 2
                   Exhibit B to Defendant's Second Supplemental Submission to Sentencing
                   Memorandum, # 3 Exhibit C to Defendant's Second Supplemental Submission to
                   Sentencing Memorandum, # 4 Exhibit D to Defendant's Second Supplemental
                   Submission to Sentencing Memorandum, # 5 Exhibit E to Defendant's Second
                   Supplemental Submission to Sentencing Memorandum)(Lozow, Gary) (Entered:
                   07/24/2017)
   07/25/2017   52 MOTION to Amend/Correct Preliminary Order of Forfeiture by USA as to Donald
                   Iley. (Attachments: # 1 Proposed Order (PDF Only))(Andrews, Tonya) (Entered:
                   07/25/2017)
   07/25/2017   53 AMENDED PRELIMINARY ORDER OF FORFEITURE AGAINST DEFENDANT
                   DONALD ILEY as to Donald Iley re 52 Motion to Amend/Correct. By Judge
                   Christine M. Arguello on 07/25/2017. (athom, ) (Entered: 07/25/2017)
   07/25/2017   54 RESTRICTED DOCUMENT − Level 2: as to Donald Iley. (Lozow, Gary) (Entered:
                   07/25/2017)
   07/25/2017   55 MOTION to Modify 51 Restricted Document − Level 2,, Defendant's Motion to
                   Renumber Exhibits by Donald Iley. (Lozow, Gary) (Entered: 07/25/2017)
   07/25/2017   56 MINUTE ENTRY for proceedings held before Judge Christine M. Arguello:
                   Sentencing held on 7/25/2017 as to Defendant Donald Iley. ORDERED: Granting 30
                   Government's Motion to Dismiss Counts. Defendant sentenced as reflected on the
                   record. Defendant present in custody; Defendant remanded. (Total time: 58 Minutes,
                   Hearing time: 3:05 p.m. −− 4:03 p.m.)

                    APPEARANCES: J. Chris Larson on behalf of the Government; Gary Lozow on
                    behalf of the Defendant; MariJo Paul on behalf of Probation. Court Reporter: Darlene
                    Martinez. (swest) Text Only Entry (Entered: 07/26/2017)
   07/27/2017   57 ORDER GRANTING 48 Motion for Leave to Restrict. Docs. ## 34 and 35 , all
                   exhibits attached thereto, and any orders that may reveal the contents of these
                   documents shall have a Level 2 Restriction. SO ORDERED by Judge Christine M.
                   Arguello on 7/27/2017. Text Only Entry (cmasec) (Entered: 07/27/2017)
   07/27/2017   58 ORDER denying 55 Motion to Modify as to Donald Iley (1). SO ORDERED by Judge
                   Christine M. Arguello on 7/27/2017. Text Only Entry (cmasec) (Entered: 07/27/2017)
   07/28/2017   59 ORDER granting 50 Motion for Leave to Restrict. Docs. ## 51 and 54 , all exhibits
                   attached thereto, and any orders that may reveal the contents of these documents shall
                   have a Level 2 Restriction. SO ORDERED by Judge Christine M. Arguello on
                   7/28/2017. Text Only Entry (cmasec) (Entered: 07/28/2017)
   07/28/2017   60 TRANSCRIPT of Change of Plea Hearing as to Donald Iley held on 4/18/17 before
                   Judge Arguello. Pages: 1−39. <br><br> NOTICE − REDACTION OF
                   TRANSCRIPTS: Within seven calendar days of this filing, each party shall
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                    inform the Court, by filing a Notice of Intent to Redact, of the party's intent to
                    redact personal identifiers from the electronic transcript of the court proceeding.
                    If a Notice of Intent to Redact is not filed within the allotted time, this transcript
                    will be made electronically available after 90 days. Please see the Notice of
                    Electronic Availability of Transcripts document at
                    www.cod.uscourts.gov.<br><br> Transcript may only be viewed at the court public
                    terminal or purchased through the Court Reporter/Transcriber prior to the 90 day
                    deadline for electronic posting on PACER. (dmart, ) (Entered: 07/28/2017)
   08/01/2017   61 RESTRICTED ADDENDUM AFTER SENTENCING to Presentence Report 37 as to
                   Donald Iley (doden, ) (Entered: 08/01/2017)
   08/03/2017   62 NOTICE OF APPEAL as to 56 Minute Entry, 63 Judgment by Donald Iley. ( Filing
                   fee $ 505, Receipt Number 1082−5646937) (Lozow, Gary) Modified on 8/3/2017 to
                   correct text and create linkage (athom, ). (Entered: 08/03/2017)
   08/03/2017   63 JUDGMENT as to defendant Donald Iley (1): Counts 1−11, 13−14, 15−27, and
                   29−32, Dismissed on Motion of the Government; Count 12, Defendant committed to
                   the custody of the Federal Bureau of Prisons to be imprisoned for a total term of
                   ONE−HUNDRED AND FIFTY−ONE (151) MONTHS, to run concurrent to Count
                   28. Supervised Release of THREE (3) YEARS, to run concurrent to Count 28. Special
                   Assessment of $100.00. Total Restitution of $9,718,327.68; Count 28, Defendant
                   committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
                   term of THIRTY−SIX (36) MONTHS, to run concurrent to Count 12. Supervised
                   Release of ONE YEAR, to run concurrent to Count 12. Special Assessment of
                   $100.00. Total Restitution of $9,718,327.68. SO ORDERED by Judge Christine M.
                   Arguello on 8/3/2017. (cmasec) (Entered: 08/03/2017)
   08/03/2017   64 STATEMENT OF REASONS as to Donald Iley. (cmasec) (Entered: 08/03/2017)
